Case 2:21-cv-00181-JRG Document 145 Filed 05/14/22 Page 1 of 3 PageID #: 23613




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


    BILLJCO, LLC                                   )
                                                   ) CASE NO: 2:21-cv-00181-JRG
    v.                                             )       (Lead Case)
                                                   )
    CISCO SYSTEMS, INC.                            )
                                                   )
                                                   )

    BILLJCO, LLC                  )
                                  )
    v.                            ) CASE NO: 2:21-cv-00183-JRG
                                  )      (Member Case)
    HEWLETT PACKARD ENTERPRISE    )
    COMPANY, ARUBA NETWORKS, LLC  )
                                  )
                                  )
               SECOND AMENDED DOCKET CONTROL ORDER

         It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:




          AMENDED
         DEADLINE                                 COURT’S DEFAULT

                                August 8, 2022       *Jury Selection - 9:00 a.m. in Marshall,
                                                     Texas
                                 July 11, 2022       * If a juror questionnaire is to be used, an
                                                     editable (in Microsoft Word format)
                                                     questionnaire shall be jointly submitted to the
                                                     Deputy Clerk in Charge by this date.1

1
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
in Advance of Voir Dire.


40023849.2
Case 2:21-cv-00181-JRG Document 145 Filed 05/14/22 Page 2 of 3 PageID #: 23614




                          July 5, 2022    *Pretrial Conference - 9:00 a.m. in Marshall,
                                          Texas before Judge Roy Payne
                          June 27, 2022   *Notify Court of Agreements Reached
                                          During Meet and Confer
                                          The parties are ordered to meet and confer on
                                          any outstanding objections or motions in
                                          limine. The parties shall advise the Court of
                                          any agreements reached no later than 1:00
                                          p.m. three (3) business days before the
                                          pretrial conference.

                          June 27, 2022   *File Joint Pretrial Order, Joint Proposed
                                          Jury Instructions, Joint Proposed Verdict
                                          Form, Responses to Motions in Limine,
                                          Updated Exhibit Lists, Updated Witness
                                          Lists, and      Updated         Deposition
                                          Designations
                          June 20, 2022   *File Notice of Request for Daily Transcript
                                          or Real Time Reporting.
                                          If a daily transcript or real time reporting of
                                          court proceedings is requested for trial, the
                                          party or parties making said request shall file
                                          a notice with the Court and e-mail the Court
                                          Reporter,      Shawn        McRoberts,       at
                                          shawn_mcroberts@txed.uscourts.gov.

June 22, 2022             June 13, 2022   File Motions in Limine
                                          The parties shall limit their motions in limine
                                          to issues that if improperly introduced at trial
                                          would be so prejudicial that the Court could
                                          not alleviate the prejudice by giving
                                          appropriate instructions to the jury.
June 24, 2022             June 13, 2022   Serve Objections       to   Rebuttal    Pretrial
                                          Disclosures
June 20, 2022             June 6, 2022    Serve Objections to Pretrial Disclosures; and
                                          Serve Rebuttal Pretrial Disclosures
June 16, 2022             May 23, 2022    Serve Pretrial Disclosures (Witness List,
                                          Deposition Designations, and Exhibit List)
                                          by the Party with the Burden of Proof


40023849.2
Case 2:21-cv-00181-JRG Document 145 Filed 05/14/22 Page 3 of 3 PageID #: 23615




May
 . 23, 2022                      May 16, 2022         *Response to Dispositive Motions (including
                                                      Daubert Motions). Responses to dispositive
                                                      motions that were filed prior to the
                                                      dispositive motion deadline, including
                                                      Daubert Motions, shall be due in accordance
                                                      with Local Rule CV-7(e), not to exceed the
                                                      deadline as set forth in this Docket Control
                                                      Order.2 Motions for Summary Judgment shall
                                                      comply with Local Rule CV-56.



     So ORDERED and SIGNED this 13th day of May, 2022.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.


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